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Form 001

                                             UNITED STATES BANKRUPTCY COURT
                                                               Middle District of North Carolina
                                                                  101 S. Edgeworth Street
                                                                   Greensboro, NC 27401
 Information to identify the case:
                     Mya Deionshai Corbett                                                        Social Security number or ITIN:       xxx−xx−3117
 Debtor 1:
                                                                                                  EIN: _ _−_ _ _ _ _ _ _


                                                                                                   Date case filed for chapter:           13         6/8/22
                     1183 University Dr
                     #105227
                     Burlington, NC 27215

 Case number:         22−10293


                                                                NOTICE OF HEARING


The debtor(s) in this case have failed to pay the filing fee in accordance with the prior order of the
court granting the application to be allowed to pay the filing fee in installments, a hearing will be
held on
Date: Tuesday, August 9, 2022
Time: 02:00 PM
Location: Courtroom 1, Second Floor, 101 South Edgeworth Street, Greensboro, NC 27401


for a determination as to whether this case should be dismissed for failure to pay the
filing fee and whether there should be a 180−day bar to refiling pursuant to §109 (g)(1) of the
Bankruptcy Code.

Dated: 7/11/22                                                                                           OFFICE OF THE CLERK/cph




To Enter a Federal Court Facility you must present a valid State or Federal photo ID. (i.e. Drivers License, etc.)

For security purposes the following is a list of items that will not be allowed into a Federal Court Facility:

Firearms, stun guns, mace or pepper spray, knives, box cutters, razors, or any cutting devices of any kind; cameras: to include any device having the photographic
capability i.e., cell phones with camera features, personal organizers with camera features; and any device having recording or transmitting capabilities: to include tape
recorders, digital recorders, wireless microphones, push to talk cell phones, hand held or two way radios or similar radio communication devices.
